Case 2:21-cv-06007-JAK-MAR Document 61-1 Filed 02/15/22 Page 1 of 4 Page ID #:743


  1   Steven T. Gubner – Bar No. 156593
      Ronald P. Abrams – Bar No. 140438
  2   BRUTZKUS GUBNER
      21650 Oxnard Street, Suite 500
  3   Woodland Hills, CA 91367
      Telephone: (818) 827-9000
  4   Facsimile: (818) 827-9099
      Email: sgubner@bg.law
  5          rabrams@bg.law
  6 Victor de Gyarfas – Bar No. 171950
    FOLEY & LARDNER LLP
  7 555 SOUTH FLOWER STREET, SUITE 3300
    LOS ANGELES, CA 90071-2418
  8 Telephone: 213.972.4500
    Facsimile: 213.486.0065
  9 Email: vdegyarfas@foley.com

 10   Attorneys for Defendant and Counter-
      Claimant GAMEBREAKER, INC.
 11

 12                        UNITED STATES DISTRICT COURT
 13                      CENTRAL DISTRICT OF CALIFORNIA
 14

 15   BELLA SUMMIT LLC,                              Case No. 2:21-cv-06007 JAK(MARx)
 16
                                  Plaintiff,         DECLARATION OF RONALD P.
           vs.                                       ABRAMS IN SUPPORT OF
 17 GAMEBREAKER, INC.,                               STIPULATION TO CONTINUE
                                                     CLAIM CONSTRUCTION
 18                             Defendant.           BRIEFING, MARKMAN HEARING,
                                                     AND RELATED DATES
 19
                                                     [Filed concurrently with Stipulation and
 20                                                  [Proposed] Order]
 21
    GAMEBREAKER, INC.,                               Date Action Filed:         July 26, 2021
 22
                  Counter-Claimant,                  Markman Hearing Date: April 4, 2022
 23         vs.
                                                     Trial Date:                 None
 24 BELLA SUMMIT LLC,
                 Counter-Defendant.
 25

 26

 27

 28



                                               -1-
Case 2:21-cv-06007-JAK-MAR Document 61-1 Filed 02/15/22 Page 2 of 4 Page ID #:744


  1 GAMEBREAKER, INC.,
  2               Third-Party Plaintiff,
             vs.
  3
    JEFF DAGAN; and KYLE DAGAN,
  4            Third-Party Defendants.
  5

  6                       DECLARATION OF RONALD P. ABRAMS
  7           1.   I am an attorney licensed to practice before all courts of the State of
  8   California and am of counsel with the law firm of BG Law, counsel of record for
  9   Defendant, Counter-Claimant and Third Party Plaintiff, GAMEBREAKER, INC.
 10   (“Gamebreaker”), in the above-entitled matter.
 11           2.   I have personal knowledge of the matters set forth herein, either as a
 12   direct participant in the matters described, or in my capacity as one of the attorneys
 13   responsible for the handling of this case on behalf of BG Law. If called and sworn as
 14   a witness, I could and would competently testify to the matters set forth herein.
 15           3.   I make this Declaration in support of the parties’ Stipulation to Continue
 16   Claim Construction Briefing, Markman Hearing, And Related Dates.
 17           4.   Pursuant to the December 6, 2021, Order Setting Pretrial Deadlines (Doc.
 18   44), the Court set relevant dates in the case, including dates relating to claim
 19   construction, as referenced below.
 20           5.   Counsel for the parties have engaged in substantive settlement
 21   discussions and intend to engage in additional settlement discussions in an effort to, at
 22   a minimum, narrow the issues prior to the settlement conference with Magistrate
 23   Judge Margo Marcconi scheduled for March 29, 2022, if not entirely dispose of the
 24   case.
 25           6.   To date, counsel for the parties have had approximately seven phone calls
 26   discussing possible settlement of the case, including substantive discussions regarding
 27   a general framework for settlement, as well as one of the parties making an actual
 28   settlement offer.


                                               -2-
Case 2:21-cv-06007-JAK-MAR Document 61-1 Filed 02/15/22 Page 3 of 4 Page ID #:745


  1         7.     The parties believe that good cause exists to grant a three-week
  2   continuance of relevant dates (such dates having not previously been continued),
  3   which would promote settlement discussions before the parties are required to expend
  4   additional significant legal fees regarding patent claim construction, in accordance
  5   with the schedule set forth below:
  6

  7                                           Date in Order Setting
      Event                                   Pretrial Deadlines    Proposed New Date
  8
      Complete Claim Construction
  9
      Discovery                               February 14, 2022         March 7, 2022
 10   Joint Markman Prehearing
 11   Statement                               February 21, 2022         March 14, 2022
 12   Simultaneous Opening Markman
      Briefs                                  February 28, 2022         March 21, 2022
 13
      Simultaneous Responding Markman
 14   Briefs, Tutorials, and Presentation
 15   Materials                               March 14, 2022            April 4, 2022
      Markman Hearing                         April 4, 2022             May 2, 2022
 16
      Markman Decision                        May 2, 2022               May 31, 2022
 17   Last day to participate in a
 18   settlement conference/mediation         May 27, 2022              May 27, 2022
 19   Patentee Files Final Infringement
 20   Contentions, Expert Reports on
      issues where Patentee has burden of
 21   proof, All parties file Advice of
 22   Counsel Disclosures                     June 1, 2022              June 29, 2022
 23   Last day to file notice of settlement /
 24
      joint report re settlement              June 3, 2022              June 24, 2022

 25                                           June 13, 2022 at 11:30    June 13, 2022 at
      Post Mediation Status Conference        a.m.                      11:30 a.m.
 26

 27

 28



                                              -3-
Case 2:21-cv-06007-JAK-MAR Document 61-1 Filed 02/15/22 Page 4 of 4 Page ID #:746


  1
                                                Date in Order Setting
  2    Event                                    Pretrial Deadlines    Proposed New Date
  3
       Accused Infringer Files Final
  4    Invalidity Contentions, Rebuttal
       Expert Reports, and Opening Expert
  5
       Reports Where Accused Infringer
  6    has Burden of Proof                      June 27, 2022          July 25, 2022
  7    Patentee’s Rebuttal Expert Reports
       on Issues where Accused Infringer
  8
       has Burden of Proof                      July 25, 2022          August 22, 2022
  9    Discovery Cut-Off                        August 22, 2022        September 19, 2022
 10    Last day to file All Motions
 11    (including discovery motions)            September 19, 2022     October 17, 2022

 12
            I declare under penalty of perjury under the laws of the United States of America
 13
      that the foregoing is true and correct.
 14
            Executed on February 15, 2022 at Los Angeles, California.
 15

 16
                                                       /s/ Ronald P. Abrams
 17                                                    RONALD P. ABRAMS
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28



                                                -4-
